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    7 ESSENTIAL CONSULTANTS, LLC
    8
                             UNITED STATES DISTRICT COURT
    9
                           CENTRAL DISTRICT OF CALIFORNIA
   10
   11 STEPHANIE CLIFFORD a.k.a.                  Case No. 2:18-CV-02217
   12 STORMY DANIELS a.k.a. PEGGY                JOINT EX PARTE APPLICATION
        PETERSON, an individual,
   13                                            OF DEFENDANTS ESSENTIAL
                                                 CONSULTANT, LLC AND DONALD
   14               Plaintiff,
                                                 J. TRUMP FOR EXTENSION OF
   15                                            TIME TO RESPOND TO FIRST
              v.
                                                 AMENDED COMPLAINT
   16
      DONALD J. TRUMP a.k.a. DAVID
   17 DENNISON, an individual,                   Assigned for All Purposes to the
                                                 Hon. S. James Otero
   18 ESSENTIAL CONSULTANTS, LLC, a
      Delaware Limited Liability Company,
   19 and DOES 1 through 10, inclusive,          Action Filed: March 6, 2018
   20
                     Defendants.
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    1         TO THE COURT, ALL PARTIES AND COUNSEL OF RECORD:
    2         PLEASE TAKE NOTICE that Defendants Essential Consultants, LLC (“EC”)
    3 and Donald J. Trump (collectively, “Defendants”) will and hereby do move ex parte
    4 for an order granting Defendants an extension of time to file an answer or Rule 12
    5 motion to dismiss the First Amended Complaint (“FAC”) filed by Plaintiff Stephanie
    6 Clifford a.k.a. Stormy Daniels a.k.a. Peggy Peterson (“Clifford” or “Plaintiff”) of: (1)
    7 30-days; or (2) 14 days (or another reasonable time) following the Court’s ruling on
    8 EC’s Motion to Compel Arbitration [Dkt. No. 20] (the “Arbitration Motion”), in
    9 which Mr. Trump joined, if necessary.
   10         Defendants are aware that ex parte applications are solely for extraordinary
   11 relief and are discouraged by the Court. Court’s Standing Order, ¶ 30. However,
   12 Plaintiff’s conduct (as detailed herein) and refusal to agree to the requested extension
   13 has left Defendants no choice but to seek relief on an ex parte basis.
   14         The current deadline for Defendants to respond the FAC is April 9, 2018, which
   15 is well before this Court’s anticipated ruling on the Arbitration Motion. If the
   16 Arbitration Motion is granted, it will likely obviate the need for Defendants to file any
   17 response to the FAC. If the Arbitration Motion is denied, the Court’s ruling may
   18 dispose of certain issues that Defendants could raise in a Rule 12 motion to dismiss.
   19         The requested extension is therefore in the interest of judicial economy and is
   20 likely to save the parties time and expense of engaging in unnecessary motion
   21 practice. Additionally, as detailed below, Defendants diligently attempted to obtain a
   22 stipulation from Plaintiff on this matter, but given Plaintiff’s refusal and the short
   23 period of time to respond to the FAC, there is insufficient time to make this request
   24 via a noticed motion. Further, Defendants have not previously requested such an
   25 extension from the Court.
   26         This application is based on this Notice, the accompanying Memorandum of
   27 Points and Authorities, the accompanying Declarations of Brent H. Blakely, any reply
   28 papers filed by Plaintiff, all other papers on file in this action, all materials that may be
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    1 properly considered in connection with this motion, and oral argument at any hearing
    2 on this matter.
    3        Plaintiff is represented by:
             Michael J. Avenatti
    4
             Avenatti & Associates, APC
    5        520 Newport Center Drive, Suite 1400
             Newport Beach, California 92660
    6
             (949) 706-7000
    7        mavenatti@eoalaw.com
    8        On April 2, 2018, counsel for EC, Brent Blakely, orally advised counsel for
    9 Plaintiff, Michael Avenatti, that Defendants would bring the instant ex parte
   10 application if Plaintiff did not agree to an extension of time for Defendants to respond
   11 to the FAC. Declaration of Brent H. Blakely (“Blakely Decl.”), ¶¶ 6-7. At the time,
   12 no agreement on an extension was reached because Mr. Avenatti placed an entirely
   13 unreasonable condition on the extension (discussed in detail below). Id.
   14        On April 3, 2018, counsel for Defendants advised Mr. Avenatti of this ex parte
   15 application, in writing, on two occasions. Blakely Decl., ¶¶ 8-10; Ex. C and Ex. D to
   16 Blakely Decl. On the second occasion, pursuant to Local Rule 7-19.1, Mr. Blakely
   17 attempted to schedule a call the following day (April 4, 2018) to discuss the date and
   18 substance of this application. Blakely Decl., ¶ 10; Ex. D to Blakely Decl. However,
   19 Mr. Avenatti did not respond to Mr. Blakely’s email for over thirty (30) hours, and
   20 when he did respond, Mr. Avenatti offered to schedule the call over the weekend (i.e.
   21 at least 2 days later). Blakely Decl., ¶ 11; Ex. E to Blakely Decl. In the interim, on
   22 April 4, 2018, Mr. Avenatti appeared on at least three national television news shows
   23 to discuss this case: (a) Anderson Cooper 360 on CNN; (b) Megyn Kelly Today on
   24 NBC News; and (c) New Day on CNN, with Alisyn Camerota. Blakely Decl., ¶ 11.
   25        Given that the current due date for Defendants’ response to the FAC is the next
   26 business day (Monday, April 9, 2018) following Mr. Avenatti’s proposed meet and
   27 confer, Defendants could not wait until the weekend to further meet and confer with
   28 Mr. Avenatti. Blakely Decl., ¶ 12. Thus, Defendants have no choice but to file the
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    1 instant application.
    2
    3 Dated: April 5, 2018             BLAKELY LAW GROUP
    4
    5                                  By: /s/ Brent H. Blakely
                                           BRENT H. BLAKELY
    6                                     Attorneys for Defendant ESSENTIAL
    7                                     CONSULTANTS, LLC

    8
    9 Dated: April 5, 2018             HARDER LLP
   10
   11
                                       By: /s/ Charles J. Harder
   12
                                           CHARLES J. HARDER
   13                                     Attorneys for Defendant
                                          DONALD J. TRUMP
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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.     INTRODUCTION
    3        The instant Ex Parte Application of Defendants Essential Consultants, LLC
    4 (“EC”) and Donald J. Trump (collectively, “Defendants”) is necessary due to Plaintiff
    5 Stephanie Clifford a.k.a. Stormy Daniels a.k.a. Peggy Peterson’s (“Clifford” or
    6 “Plaintiff”) counsel’s refusal to agree to a routine request to extend the current April
    7 9, 2018 deadline for Defendants to file an answer or a Rule 12 motion to dismiss the
    8 First Amended Complaint (“FAC”). In light of EC’s pending Motion to Compel
    9 Arbitration [Dkt. No. 20] (the “Arbitration Motion”), in which Mr. Trump has joined,
   10 Defendants requested that Plaintiff stipulate to a 30-day extension of their response
   11 deadline, in the interest of judicial economy. Rather than simply grant this routine
   12 request, Plaintiff’s counsel, Michael Avenatti, conditioned Plaintiff’s stipulation to an
   13 extension on a separate agreement by defendant Michael Cohen (who is not a party to
   14 the cause of action brought against Defendants, and is not requesting an extension at
   15 this time) to arbitrate Plaintiff’s second cause of action of defamation against him in
   16 the event the Court grants the Arbitration Motion.
   17        Plaintiff’s attempt to condition Defendants’ routine request for an extension
   18 upon a separate agreement from a separate defendant (Michael Cohen) is wholly
   19 inappropriate and runs afoul of Section B.2. of the Central District’s Civility and
   20 Professionalism Guidelines, which states in pertinent part: “Unless time is of the
   21 essence, as a matter of courtesy we will grant first requests for reasonable extensions
   22 of time to respond to litigation deadlines.” See also In re Barrera, 2016 WL
   23 3004429, at *2 (Bankr. C.D. Cal. May 17, 2016) (stating counsel should be able to
   24 agree to a reasonable extension of time to respond to a complaint “without attaching
   25 any extraneous conditions”).
   26        Additionally, such requests for an extension are routinely granted by courts and
   27 are the proper subject of ex parte requests. See Rutter Group Prac. Guide Fed. Civ.
   28 Pro. Before Trial Ch. 8-D (emphasis added) (“Requests for initial extensions should
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    1 not be unreasonably refused. Civility between counsel is good strategy and always
    2 appreciated by the court. Unless it would give defendant a strategic advantage and
    3 the matter is important, stipulate to the extension of time (particularly because
    4 courts routinely grant initial extensions).”); Ex Parte Motions, Rutter Group Prac.
    5 Guide Fed. Civ. Pro. Before Trial Ch. 12-F (ex parte orders in connection with
    6 scheduling matters are proper).
    7        Accordingly, there is good cause for the Court issue an order granting
    8 Defendants: (1) a 30-day extension of time to respond to the FAC; or in the
    9 alternative (2) 14 days (or another reasonable period of time) to respond to the FAC
   10 following the Court’s ruling on the Arbitration Motion.
   11        Prior to filing this application, counsel for Defendants advised Plaintiff’s
   12 counsel, Mr. Avenatti, of the Civility and Professionalism Guidelines set forth herein.
   13 Notwithstanding the same, and following multiple requests for a stipulation to the
   14 extension requested herein, Mr. Avenatti refused the request, thus requiring
   15 Defendants to incur the cost of preparing this Application, and requiring this Court to
   16 expend the resources to consider this Application, as opposed to a simple and routine
   17 stipulation.
   18 II.    FACTUAL AND PROCEDURAL BACKGROUND
   19        This action was commenced by Plaintiff in Los Angeles Superior Court on
   20 March 6, 2018 through the filing of the Complaint. Plaintiff’s Complaint asserted a
   21 single cause of action for declaratory relief against Defendants. On March 16, 2018,
   22 EC removed this action to the United States District Court, Central District of
   23 California; Mr. Trump consented to and joined in this removal. [Dkt. Nos. 1, 5]
   24        On March 21, 2018, counsel for Defendants met with counsel for Plaintiff to
   25 discuss the Arbitration Motion and Plaintiff’s Motion for Expedited Jury Trial
   26 pursuant to Local Rule 7-3. Blakely Decl., ¶ 3. The parties however were unable
   27 reach an agreement to eliminate the need for their respective motions. Id.
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    1        On March 26, 2018, Plaintiff filed her First Amended Complaint (the “FAC”),
    2 which asserted a second cause of action for defamation against a new party: Michael
    3 Cohen (“Mr. Cohen”). [Dkt. No. 14]
    4        On March 27, 2018, Plaintiff filed her Motion for Expedited Jury Trial. [Dkt.
    5 No. 16] The Court denied this motion, sua sponte, without prejudice on March 29,
    6 2018. [Dkt No. 17] In its ruling, the Court ordered Plaintiff to file proofs of service
    7 for the FAC within 14 days and further ordered Defendants to file a response to the
    8 FAC within 14 days of the date service was accomplished. Id. at p. 4. On April 3,
    9 2018, Plaintiff filed a certificate of service [Dkt. No. 22], which reflected that the
   10 FAC was served on Defendants on March 26, 2018 and established that the deadline
   11 for Defendants to respond to the FAC is April 9, 2018.
   12        On March 27, 2018, counsel for Mr. Cohen, Brent Blakely, sent a letter to Mr.
   13 Avenatti requesting a meet and confer in connection with Mr. Cohen’s contemplated
   14 motion to strike Plaintiff’s second cause of action pursuant to California Code of Civil
   15 Procedure § 425.16. Ex. A to Blakely Decl., 3/27/18 Letter. This correspondence
   16 further advised Mr. Avenatti that Mr. Blakely was beginning a trial on April 3, 2018
   17 and requested that the in-person meet and confer take place during the same week. Id.
   18        Having received no response from Mr. Avenatti for nearly three days, Mr.
   19 Blakely sent a follow-up email to Mr. Avenatti on Friday, March 30, 2018. Ex. B to
   20 Blakely Decl., 3/30/18 Email Chain. Additionally, citing the then-upcoming
   21 Arbitration Motion and the interests of judicial economy, Mr. Blakely requested on
   22 behalf of Defendants that Plaintiff stipulate to a 30-day extension of Defendants’
   23 deadline to file an answer or Rule 12 motion to the FAC. Id.
   24        In response, Mr. Avenatti did not state whether or not he would agree to the
   25 requested extension, and instead stated that he would discuss it during the parties’
   26 meet and confer on Mr. Cohen’s motion to strike and/or dismiss, which he scheduled
   27 to take place on Monday, April 2, 2018, at 11:00 am. Ex. B to Blakely Decl.
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    1         The meet and confer between Mr. Blakely and Mr. Avenatti took place on
    2 April 2, 2018; and was held telephonically due to Mr. Blakely’s need to prepare for a
    3 trial beginning the next day. Blakely Decl., ¶ 6. During the conference, Mr. Avenatti
    4 proposed an extension of time for Defendants to respond to the FAC until 10-14 days
    5 after the Court ruled on the Arbitration Motion; however, this proposal was
    6 conditioned upon defendant Michael Cohen (who was not requesting an extension and
    7 is not even a party to the one cause of action against Defendants: the First Cause of
    8 Action for Declaratory Relief) agreeing to arbitrate Plaintiff’s second cause of action
    9 for defamation against him, in the event the Court grants the Arbitration Motion. Id.,
   10 ¶ 7. As result, no agreement on an extension of time was reached and Mr. Blakely
   11 informed Mr. Avenatti that an ex parte application would be necessary if Plaintiff did
   12 not agree to the extension. Id.
   13         On April 2, 2018, EC filed the Arbitration Motion, which Mr. Trump has
   14 joined. [Dkt. Nos. 20-21]
   15         On April 3, 2018, counsel for Mr. Trump, Charles Harder, sent a follow-up
   16 letter to Mr. Avenatti advising that the aforementioned condition on the extension
   17 requested by Defendants was inappropriate and in violation of the Central District’s
   18 Civility and Professionalism Guidelines, and requested that Plaintiff to agree to an
   19 extension without this condition. Ex. C to Blakely Decl., 4/3/18 Letter. In response,
   20 Mr. Avenatti claimed that Mr. Harder’s letter was “inaccurate in many aspects,” but
   21 did not identify any of the purported inaccuracies or respond to the substance of the
   22 letter, namely, whether or not Plaintiff would agree to the requested extension without
   23 conditions. Ex. D to Blakely Decl., 4/3/18 Email Chain. In response, Mr. Harder
   24 advised that his letter was accurate, and reiterated his request that Plaintiff clarify
   25 whether she would agree to the requested extension without conditions. Id. Mr.
   26 Harder further advised Mr. Avenatti that Defendants would have no choice but to file
   27 an ex parte application for the requested extension if it was refused by Plaintiff. Id.
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    1 In response, Mr. Avenatti again did not state whether Plaintiff would agree to an
    2 extension, and instead combatively hurled accusations. Id.
    3        Thereafter, on the night of April 3, 2018, Mr. Blakely, after concluding the first
    4 day of trial before Judge Terry Hatter in the U.S. District Court, Central District of
    5 California, and preparing for the following day of trial, sent an email to Mr. Avenatti
    6 requesting yet another meet and confer telephonic conference to discuss the requested
    7 extension. Ex. D to Blakely Decl. Mr. Avenatti did not respond to Mr. Blakely’s
    8 email for over thirty (30) hours, and when he did, Mr. Avenatti offered to meet and
    9 confer over the weekend (i.e. at least two days later). Blakely Decl., ¶ 11; Ex. E to
   10 Blakely Decl., 4/5/18 Email. In the interim, on April 4, 2018, Mr. Avenatti appeared
   11 on at least three national television news shows to discuss this case: (a) Anderson
   12 Cooper 360 on CNN; (b) Megyn Kelly Today on NBC News; and (c) New Day on
   13 CNN, with Alisyn Camerota. Blakely Decl., ¶ 11.
   14        Given that the current due date for Defendants’ response to the FAC is the next
   15 business day (Monday, April 9, 2018) following Mr. Avenatti’s proposed meet and
   16 confer, Defendants could not wait until the weekend to further meet and confer with
   17 Mr. Avenatti. Blakely Decl., ¶ 12.
   18        As a result of the foregoing, Defendants were required to file the instant Ex
   19 Parte Application, to obtain the requested extension.
   20 III.   GOOD CAUSE EXISTS TO GRANT THIS EX PARTE APPLICATION
   21        Defendants are aware that ex parte applications are solely for extraordinary
   22 relief and are discouraged by the Court. Court’s Standing Order, ¶ 30. However,
   23 Plaintiff’s aforementioned conduct and refusal to agree to the requested extension has
   24 left Defendants no choice but to seek relief on an ex parte basis.
   25        In Mission Power Eng’g Co. v. Continental Casualty Co., 883 F. Supp 488,
   26 492 (C.D. Cal. 1995) the court set forth a two-part test to determine whether a moving
   27 party is entitled to ex parte relief: the moving party must show (1) that its “cause will
   28 be irreparably prejudiced if the underlying motion is heard according to regular
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    1 noticed motion procedures”; and (2) that the moving party is “without fault in creating
    2 the crisis that requires ex parte relief, or that the crisis occurred as a result of
    3 excusable neglect.”
    4         As discussed above, and in the accompanying Declaration of Brent H. Blakely,
    5 Defendants diligently attempted to obtain a stipulation from Plaintiff on this matter,
    6 but because Plaintiff refused, and because of the short period of time to respond to the
    7 FAC (14 days), there is insufficient time make this request via a noticed motion.
    8 Defendants have not previously requested such an extension from the Court.
    9         Additionally, the current deadline for Defendants to respond the FAC is April
   10 9, 2018, which is well before this Court’s ruling on Arbitration Motion. If the
   11 Arbitration Motion is granted, it will likely obviate the need for Defendants to file any
   12 response to the FAC. If the Arbitration Motion is denied, the Court’s ruling may
   13 dispose of certain issues that Defendants could raise in a Rule 12 motion to dismiss.
   14 The requested extension is therefore in the interest of judicial economy and will save
   15 the parties time and expense from engaging in unnecessary motion practice.
   16 Accordingly, there is good cause for the Court to grant the requested extension.
   17 IV.     CONCLUSION
   18         For the foregoing reasons, Defendants respectfully requests that the Court grant
   19 the instant Ex Parte Application and issue an order granting Defendants an extension
   20 of time to file an answer or motion to dismiss the FAC of: (1) 30 days; or in the
   21 alternative (2) 14 days (or another reasonable period of time) following the Court’s
   22 ruling on the Arbitration Motion.
   23
   24 Dated: April 5, 2018                    BLAKELY LAW GROUP
   25
   26                                         By: /s/ Brent H. Blakely
                                                  BRENT H. BLAKELY
   27                                            Attorneys for Defendant
   28                                            ESSENTIAL CONSULTANTS, LLC

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    1 Dated: April 5, 2018                   HARDER LLP
    2
    3
                                             By: /s/ Charles J. Harder
    4                                            CHARLES J. HARDER
    5                                           Attorneys for Defendant
                                                DONALD J. TRUMP
    6
    7
    8         Pursuant to Local Rule 5-4.3.4, I Brent H. Blakely, hereby attest that all other
    9 signatories to this Ex Parte Application, and on whose behalf it is submitted, concur
   10 in its content and have authorized its filing.
   11 Dated: April 5, 2018                                         /s/ Brent H. Blakely
                                                                   BRENT H. BLAKELY
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